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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF SOUTH CAROLINA
                             FLORENCE DIVISION

 United States of America,                     Crim. No. 4:07-cr-00208-TLW-2

         v.
                                                               Order
 Edwin Devon Edgeworth



        This matter is before the Court on Defendant’s motion for a sentence reduction

pursuant to the First Step Act of 2018, passed by Congress and signed into law by the

President on December 21, 2018. Pub. L. No. 115-391, 132 Stat. 5194. This law

contains sentencing provisions that apply retroactively to certain defendants

previously sentenced.

        Defendant pled guilty to a charge of Conspiracy to Distribute 50 Grams or More

of Cocaine Base and 5 Kilograms or More of Cocaine, in violation of 21 U.S.C.

§§ 841(a)(1), 841(b)(1)(A)(ii), 841(b)(1)(A)(iii), and 846. After taking into account the

§ 851 Information that the Government previously filed, his statutory sentencing

range was 20 years to Life, followed by at least 10 years of supervised release. PSR

¶¶ 84, 88. His Guidelines range at sentencing was 240 to 293 months, followed by 10

years of supervised release. PSR ¶¶ 85, 91. After granting the Government’s motion

for a downward departure pursuant to § 5K1.1 and departing four levels, his reduced

Guidelines range became 151 to 188 months (31/IV). The Court imposed a 156-month

term of imprisonment, followed by a 10-year term of supervised release. ECF No.

240.     After three sentence reductions based on two retroactive Guidelines

amendments and one Rule 35(b) motion by the Government, the Court ultimately

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reduced his sentence to 91 months. ECF Nos. 394, 514, 548. BOP records reflect that

he was released from custody on November 17, 2014.

      Section 404(b) of the First Step Act provides that “[a] court that imposed a

sentence for a covered offense may . . . impose a reduced sentence as if sections 2 and

3 of the Fair Sentencing Act of 2010 . . . were in effect at the time the covered offense

was committed.” Section 404(a) defines “covered offense” as “a violation of a Federal

criminal statute, the statutory penalties for which were modified by section 2 or 3 of

the Fair Sentencing Act of 2010 . . . , that was committed before August 3, 2010.” As

noted above, Count 1 charged Defendant with violating 21 U.S.C. § 841(b)(1)(A)(iii).

Section 2(a) of the Fair Sentencing Act modified the statutory penalties set forth in

§ 841(b)(1)(A)(iii) by increasing the threshold amount of crack from 50 grams to 280

grams.

      The Fourth Circuit recently held that a defendant convicted of a multi-object

drug conspiracy case involving crack and some other drug is still eligible for a

reduction even though the Fair Sentencing Act only modified the penalties associated

with crack. See United States v. Gravatt, 953 F.3d 258, 264 (4th Cir. 2020). Thus,

Defendant is eligible for a sentence reduction under § 404(b) of the First Step Act and

18 U.S.C. § 3582(c)(1)(B).

      Defendant’s motion is not entirely clear about whether he is requesting a full

resentencing. To the extent he is, Judge Currie has considered this question and

concluded that a First Step Act defendant is not entitled to a full resentencing.

United States v. Shelton, No. 3:07-329 (CMC), 2019 WL 1598921, at *2–3 (D.S.C. Apr.



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15, 2019). The Court notes Judge Currie’s thorough, well-reasoned opinion and

adopts her analysis of the applicable law in this case. Thus, the Court concludes that

although Defendant is eligible for a sentence reduction, he is not entitled to a full

resentencing. See also United States v. Wirsing, 943 F.3d 175, 181 n.1 (4th Cir. 2019)

(“Defendant does not contest that his relief, if any, will be in the form of a limited

sentence modification rather than a plenary resentencing.”).

      Though Defendant is eligible for a sentence reduction, a reduction is not

automatic. Section 404(c) of the First Step Act explicitly provides that “[n]othing in

this section shall be construed to require a court to reduce any sentence pursuant to

this section.” Notably, Gravatt did not address whether that particular defendant’s

sentence should have been reduced, only that he was eligible for consideration. See

Gravatt, 953 F.3d at 264.

      In considering whether to reduce Defendant’s term of supervised release (he

served his custodial sentence and has been released by the BOP), the Court has

carefully reviewed the Presentence Investigation Report and Sentence Reduction

Report, and has considered the current statutory range, the Guidelines range, the

§ 3553(a) factors, and evidence of post-sentencing mitigation. The Court carefully

considered the memoranda filed by counsel for the parties. The Court has also

considered in its analysis the issues raised in Defendant’s motion, including that the

offense listed in the § 851 Information would no longer qualify for § 851 purposes and

that he has been on supervised release for nearly six years without violations. In

light of these considerations, particularly that his prior drug possession offense would



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now not count for § 851 purposes, the Court concludes that it would be appropriate to

reduce his supervised release term to 5 years.

      Defendant asked that his supervised release term be reduced to 4 years, but

the Court concludes that a reduction to 4 years would not be appropriate. While the

Government argued that the supervised release term should not be less than 8 years,

it acknowledged that “it may be appropriate for this Court to consider, among other

factors, subsequent changes in the law which would benefit [Defendant] in

determining whether to reduce his term of supervised release.” ECF No. 670 at 6.

Because he was convicted of conspiring to distribute at least 50 grams of crack and

at least 5 kilograms of cocaine, his statutory supervised release term for the cocaine

portion of the charge alone is 5 years without the § 851 enhancement and 10 years

with the enhancement. See 21 U.S.C. § 841(b)(1)(A). As discussed above, the Court

has considered the fact that his prior drug possession conviction would not count

today for § 851 purposes, making the supervised release period 5 years if he were

sentenced today. For these reasons, the Court concludes that it would be appropriate

under the facts of this case to take that factor into consideration and reduce his

supervised release term to the level it would be without the enhancement—5 years.

      Pursuant to the First Step Act and for the reasons set forth above, Defendant’s

motion, ECF No. 668, is GRANTED, and his term of supervised release is reduced to

5 years.1 An amended judgment will follow.



1 Defendant has already served this 5-year term of supervised release, as he was
released on November 17, 2014.


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     IT IS SO ORDERED.

                                       s/ Terry L. Wooten
                                       Terry L. Wooten
                                       Senior United States District Judge

November 5, 2020
Columbia, South Carolina




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